                              NO. 07-10-00250-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
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SEPTEMBER 28, 2010
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                        RAYNE DOUGLAS WEBER, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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                FROM THE 251ST DISTRICT COURT OF RANDALL COUNTY;
                                       
                  NO. 21,115-C; HONORABLE ANA ESTEVEZ, JUDGE
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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.


                              MEMORANDUM OPINION
                                       
Pending before the court is the motion of appellant Rayne Douglas Weber to dismiss his appeal.  Appellant and his attorney have both signed the motion.  Tex. R. App. P. 42.2(a).  No decision of this court having been delivered to date, we grant the motion. Accordingly, the appeal is dismissed. No motion for rehearing will be entertained and our mandate will issue forthwith.

								James T. Campbell
									Justice
Do not publish.	
